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                             EXHIBIT A
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  (12) Ulllted States Patent                                                                        (10) Patent N0.:                 US 8,671,195 B2
               Rothschild                                                                           (45) Date of Patent:                       Mar. 11, 2014

  (54)          DIGITAL MEDIA COMMUNICATION                                                           3,264,352 B2      9/2012 Holley et a1~
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  (65)                             Prior Publication Data                                                         OTHER PUBLICATIONS
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                G06F 15/16                      (2006.01)                                      Complaint [Case No. 06-CV-21359/Entered May31, 2006/Miami,
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               5,857,187 A             1/1999 Uenoyamaetal.                                    an interactive computer network. The communication link is
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               5,937,158 A          8/1999      Uranaka                                        network. The digital media communication protocol, and in
               5,996,000 A         11/1999      Shuster                                        particular, the communication link, is further structured to
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                                                                  F1IGURE




                                                                     20


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                            omdv                              EmDGE
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                                                            3FIGURE
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           100
                 \
                                      Media Node
                                 Disposed Within
                                  Wireless Range


                                              7

                                  Media Terminal            104
                                        Detects         W
                                      Media Node


                                          V

                                 Media Terminal
                                    Initiates
                               Communication Link
                                With Media Node


                                          1


                                    Establish
                               Communication Link



                                          1

                                  Transmit Digital
                                    Media File
                                     Between
                                  Media Node and
                                  Media Terminal




                                                        FIGURE 4
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                                                       US 8,671,195 B2
                                1                                                                   2
          DIGITAL MEDIA COMMUNICATION                                 Way limited to, a portable device such as, for example, a
                    PROTOCOL                                          mobile computer, PDA, cellular telephone, handheld game
                                                                      console, portable MP3 player, etc. In yet another embodi
            BACKGROUND OF THE INVENTION                               ment, hoWever, the media node includes a desktop computer
                                                                      or other like device. Furthermore, the interactive computer
    1. Field of the Invention                                         netWork of the present speci?cation may include any one or
    The present speci?cation is generally directed to a digital       more computer netWorks, including home, of?ce, private,
  media communication protocol structured to facilitate trans         and/or limited netWorks, as Well as access to the World Wide
  ferring and/or transmitting one or more digital media ?les to       Web, for example, via the Internet.
  and/or from a media terminal and a media node via at least            In addition, at least one embodiment of the present system
  one interactive computer network.                                   includes a Wireless range structured to permit authoriZed
    2. Background                                                     access to the one or more interactive computer netWorks.
     As technology continues to develop and play a signi?cant         Moreover, the media node(s) is disposable Within the Wireless
  role in today’s society, a vast majority of portable devices,       range, Wherein the media node is detectable by the media
  including cellular telephones, portable MP3 players, hand           terminal disposed in accessible relation to the interactive
  held or portable game consoles, Personal Digital Assistants         computer netWork. The present speci?cation further includes
  (“PDA”), etc. are equipped With memory devices, such as             a communication link initiated by the media terminal and
  hard drives and/or removable ?ash or memory cards, Which            structured to dispose the media terminal and the media node
  are capable of holding or storing large amounts of data and or      in a communicative relation With one another via the interac
  digital media ?les including digital photographs, videos, 20 tive computer netWork.
  audio/music ?les, etc. Accordingly, With the advent of such           Once the communication link is established, the media
  devices having these capabilities, individuals or users are         terminal and the media node are structured to transmit at least
  more inclined to carry around their media ?les, such as, for     one digital media ?le therebetWeen via the communication
  example, digital photo albums, family videos, and/or favorite    link. In particular, the media terminal and/or media node is
  music tracks.                                                 25 structured to display, save, edit, manipulate, and/ or transfer or
     The draWback to the above noted portable media devices,       send the digital media ?le.
  hoWever, is that many of the devices include relatively small       These and other objects, features and advantages of the
  display screens, some of Which display poor quality photos       present system Will become more clear When the draWings as
  and/or videos. In addition, the speakers associated With the     Well as the detailed description are taken into consideration.
  corresponding portable device(s) are typically rather small 30
  and produce minimal or poor sound therefrom.                        BRIEF DESCRIPTION OF THE DRAWINGS
     In addition, the individuals or users of the media devices
  may desire to share the digital media ?les and/or transfer,     For a fuller understanding of the nature of the present
  display, or play the ?les on a computer or other media device system, reference should be had to the folloWing detailed
  equipped With a larger or better quality screen, or having 35 description taken in connection With the accompanying draW
  higher quality speakers than that disposed on the portable          ings in Which:
  device(s). In addition, some media devices may have better            FIG. 1 is a schematic representation of one embodiment of
  editing softWare, or have access to the World Wide Web to           the digital media communication protocol in accordance With
  further distribute the digital media ?les.                       the present speci?cation.
     Accordingly, it Would be advantageous if the digital media 40    FIG. 2 is a schematic representation of another embodi
  communication protocol of the present speci?cation is struc      ment of the digital media communication protocol in accor
  tured to facilitate transferring or transmitting one or more     dance With the present speci?cation.
  digital media ?les betWeen tWo or more media devices, such          FIG. 3 is a schematic representation of yet another embodi
  as a media terminal and/or a media node, via at least one        ment of the digital media communication protocol in accor
  interactive computer netWork. In particular, it Would be ben 45 dance With the present speci?cation.
  e?cial if the digital media communication protocol includes a       FIG. 4 is a partial ?oW chart of at least one illustrative
  communication link structured to bypass at least one or more        implementation of the digital media communication protocol
  security measures, such as a passWord and/or ?reWall,               of the present speci?cation.
  employed by the interactive computer netWork, the corre               Like reference numerals refer to like parts throughout the
  sponding netWorking devices, and/or the particular media 50 several vieWs of the draWings.
  devices themselves.
    In addition, once the communication link is established it                         DETAILED DESCRIPTION
  Would be particularly bene?cial if the various media devices,
  including the media terminal(s) and/or media node(s), are           As shoWn in the accompanying draWings, the present
  structured to display, save, edit, manipulate, and/or transfer 55 speci?cation relates to a digital media communication proto
  the one or more digital media ?les.                                 col, generally indicated as 10. As illustrated in FIGS. 1
                                                                      through 3, at least one embodiment of the present protocol or
                          SUMMARY                                     system 10 includes one or more media terminals 20 and one or
                                                                      more media nodes 30. In particular, the media terminal(s) 20
     The present speci?cation is directed to a digital media 60 of at least one embodiment is disposed in an accessible rela
  communication protocol having at least one media terminal          tion to at least one interactive computer netWork 40 and may
  and at least one media node. In particular, the media terminal     include, for example, a computer processing device 22, an
  of at least one embodiment includes a computer, including but      input device 24, and a display device 26. Accordingly, as
  not limited to a desktop computer, mobile or laptop computer,      shoWn in FIG. 1, the media terminal(s) 20 of the various
  PDA, cellular telephone, etc., and is disposed in an accessible 65 embodiments described herein may include a desktop com
  relation to one or more interactive computer netWorks. In at       puter, hoWever, any device structured to facilitate the practice
  least one embodiment, the media node includes, but is in no        of the present system in the intended fashion may be utiliZed,
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                                                          US 8,671 ,195 B2
                                  3                                                                        4
  including but in no Way limited to a laptop or notebook                    include virtually any electronic ?le or data such as a digital
  computer, PDA, video game console, mobile telephone, etc.                  photograph, video, audio, animation, text, or any other elec
    The media node(s) 30 of at least one embodiment of the                   tronic document or object.
  present system 10 generally includes a portable device such                   Moreover, in at least one embodiment of the present system
  as a cellular or mobile telephone, PDA, portable mp3 player,               10, the media node(s) 30 is disposable Within the Wireless
  laptop or notebook computer, or any other digital media                    range 50, Wherein the media node 30 is detectable by the
  device structured to facilitate the practice of the present sys            media terminal 20. In particular, as stated above, in at least
  tem in the intended manner. In at least one embodiment,                    one embodiment, the media node 30 includes a portable
  hoWever, the media node 3 0 is not limited to a portable device,           device, such as a mobile or cellular phone, PDA, laptop, etc.
  and may include a more stationary device or structure such as,             Accordingly, the media node 30 may be disposed Within, i.e.,
  for example, a desktop computer.                                           enter, the con?nes of the Wireless range 50, for example,
     Furthermore, the various embodiments of the present                     When a user or individual carries the media node 30 therein. In
  speci?cation include at least one interactive computer net                 addition, for purposes of the present system 10, the media
  Work 40, 40'. In particular, as illustrated in FIG. 1, at least one        node 30 may be disposed Within the Wireless range 50 When
  embodiment includes one or more home, o?ice, private, lim                  the device is poWered on, activated, or otherWise con?gured
  ited, or closed interactive computer netWorks 40 at least par              into a discoverable and/or detectable state While simulta
  tially de?ned by one or more netWorking devices 42, includ                 neously being physically disposed Within the con?nes of the
  ing but not limited to a router, access point, and/or sWitch.              Wireless range 50, and as such, the media node 30 need not
  Accordingly, the interactive computer netWork 40 may       necessarily be portable or easily movable. For instance, While
  include a Local Area NetWork (“LAN”), Wide Area NetWork 20 physically disposed Within the con?nes of the Wireless range
  (“WAN”), Private Area NetWork (“PAN”), peer-to-peer net    50, the media node(s) 30 may be poWered on or otherWise
  Work, Bluetooth netWork, etc. As best shoWn in FIGS. 2 and                 have Wireless or Bluetooth capabilities activated.
  3, it is also contemplated that, especially Wherein the inter                Furthermore, the media terminal(s) 20 disposed in acces
  active computer netWork 40 is a Bluetooth or peer-to-peer                  sible relation to the interactive computer netWork 40 are
  netWork, the media terminal(s) 20 and/ or the media node(s) 25 structured to detect the media node(s) 30 as the media node(s)
  30 can function as the netWorking device(s) 42, at least to the30 is disposed Within the con?nes of or is otherWise detect
  extent of de?ning the interactive computer netWork 40. Addi    able Within the Wireless range 50. Particularly, in at least one
  tionally, and referring again to FIG. 1, at least one interactive
                                                                 embodiment, each media node 30 includes a node identi?er
  computer netWork 40' of at least one embodiment includes       structured to distinguish one media node 30 Within the Wire
  access to the World Wide Web, for example via the Internet. 30 less range 50 from another. For example, the node identi?er
  Such access to the World Wide Web 40' may be facilitated in    may include a device name, model/ serial number, Media
  any manner, including but not limited to, via a cable or DSL   Access Control (“MAC”) address, or Internet Protocol (“IP”)
  modem 44, as shoWn in FIG. 1, or via one or more satellites 46 address. Accordingly, as the media node 30 enters or is oth
  and/ or one or more toWers or base stations 48, as illustrated in          erWise disposed Within the Wireless range 50, the media ter
  FIG. 2.                                                               35   minal 20 is structured to detect and/or identify the media node
    In addition, and still referring to FIGS. 1 through 3, at least          30, for example, by the corresponding node identi?er.
  one embodiment of the present system 10 includes a Wireless                  In addition, at least one embodiment of the present system
  range 50 structured to permit access to the one or more inter              10 includes a terminal program disposed in an accessible
  active computer netWorks 40. In particular, as shoWn in FIG.    relation to the media terminal 20. In particular, the terminal
  1, the Wireless range 50 may be at least partially de?ned by 40 program of at least one embodiment is a computer softWare
  netWorking devices 42, such as a Wireless router, access point, program structured to facilitate the practice of the present
  sWitch, etc. In yet another embodiment, as shoWn in FIGS. 2     system 10 in the intended fashion, at least from the media
  and 3, hoWever, the Wireless range 50 may be partially de?ned   terminal 20 side of the system 10. The terminal program, of at
  by the media terminal 20 and/ or media node 30, such as, for    least one embodiment, may be disposed on the media termi
  example, Wherein the interactive computer netWork 40 45 nal 20, such as, for example, on a hard drive, or other memory
  includes a Bluetooth or peer-to-peer netWork.                   device associated With the media terminal 20. In yet another
     In addition, and as an attempt to minimiZe or eliminate      embodiment, hoWever, the terminal program may be acces
  unauthoriZed access or security breaches to the interactive     sible via the at least one interactive netWork 40, 40', such as,
  computer netWork 40, the interactive computer netWork 40                   for example, via the World Wide Web. For example, in the
  and/ or the various netWorking device(s) 42 may include one 50 embodiment Wherein the terminal program is accessible via
  or more netWorking device security measures 41 including a     the World Wide Web, a user may direct a Web broWser dis
  ?reWall, and/or passWords/keys such as, for example, Wi-Fi     posed in the media terminal 20 to a particular Web site, Which
  Protected Access (“WPA”) keys, and/or Wireless Application                 then runs or executes the terminal program and/ or doWnloads
  Protocol (“WAP”) keys. Accordingly, only authoriZed indi                   the terminal program to the media terminal 20.
  viduals or computers may generally have access to the inter           55      Either Way, the terminal program may include at least one
  active computer netWork 40 through the ?reWall, via use of                 script Which is structured to consistently or periodically
  the passWord(s)/key(s), and/or any other netWorking device         monitor the Wireless range 50 associated With the interactive
  security measure(s) 41.                                            computer netWork 40 for the existence of media nodes 30.
     The present system 10 further includes at least one digital     When a media node 30 is disposed Within the Wireless range
  media ?le 60 initially disposed or saved on at least one of the 60 50, the terminal program may be structured or con?gured to
  media terminal(s) 20 or media node(s) 30. Speci?cally, the         automatically alert a user at the media terminal 20 of the
  digital media ?le(s) 60 may be disposed on the media               existence or detection of the media node 20. In particular, the
  terminal(s) 20, the media node(s) 30, or both. HoWever, it         terminal program may deploy a pop-up display, play an audio
  should be apparent that for purposes of the present system 10,     alarm or tone, etc. On the other hand, the terminal program
  the digital media ?le 60 need not necessarily be created or 65 may be structured or con?gured to alert or notify the user of
  originated on either the media terminal(s) 20 or the media         any detected media nodes 30 only upon the user’s speci?c
  node(s) 30. In particular, the digital media ?le(s) 60 may                 instructions. For example, the media terminal 20, and in par
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   ticular the terminal program thereof, may be structured to list     control of the media terminal 20 may direct the media termi
   or display the media nodes 30 currently disposed Within the         nal 20 to initiate the communication link 70 With one or more
   Wireless range 50 upon the user clicking on or otherwise            selected media node(s) 30, for example, via the terminal
   manipulating a corresponding option of the terminal pro             program. Similarly, the media node 30 may be structured or
   gram.                                                               con?gured to automatically accept or decline creation of the
      At least one embodiment of the present system 10 further         communication link 70 initiated by the media terminal 20.
   includes a communication link 70 structured to dispose the          HoWever, in at least one embodiment of the present system
   media terminal(s) 20 and the media node(s) 30 in a commu            10, the media node(s) 30 may be structured or con?gured for
   nicative relation With one another via the interactive computer     a user in control of the media node 30 to selectively accept or
   netWork 40. In particular, the communication link 70 of the         decline the creation or establishment of a communication link
   various embodiments of the present system 10 is initiated or
                                                                       70 initiated by the corresponding media terminal 20. As such,
   requested by the media terminal 20. As stated above, the
                                                                       in at least one embodiment, the media node 30 includes one or
   media terminal 20 is structured to detect the media node(s) 3 0
   disposed Within the Wireless range 50. As also stated above,        more node programs structured to facilitate the practice of the
   the media node 30 may, but need not, hoWever, be con?gured          present system 10 in the intended fashion, at least from the
   to have access to the interactive computer netWork 40. For          media node 30 side of the system 10.
   example, the interactive computer netWork 40 and/or the cor           Once the communication link 70 is initiated, accepted,
   responding netWorking device(s) 42 may be equipped With             and/or ultimately established betWeen the media terminal 20
   one or more security measures 41, including a WEP key or            and the media node 30, the digital media ?le(s) 60 may be
   other passWord. The media node 30 may, but need not have 20 selectively transmitted therebetWeen. In particular, if the digi
   access to the WEP key or other security measure 41 so as to      tal media ?le 60 is initially disposed on the media node 30, the
   access the corresponding interactive computer netWork 40.        media node 30 and the media terminal 20 may cooperatively
   Even so, the media terminal 20 is structured to initiate a       communicate via the communication link 70 such that the
   communication link 70 With the one or more detected media        digital media ?le 60 may be transmitted from the media node
   nodes 30 disposed Within the Wireless range 50, for example, 25 30 to the media terminal 20. In addition, the converse is also
   by sending and/or transmitting a request to the corresponding    true. Particularly, if the digital media ?le 60 is disposed on the
   media node(s) 30 to establish a communication link 70 there      media terminal 20, the media node 30 and the media terminal
   With via the interactive computer netWork 40. As illustrated in  20 may cooperatively communicate via the communication
   FIG. 1, the media terminal 20 need not be disposed Within the    link 70 such that the digital media ?le 60 may be transmitted
   Wireless range 50 in order to detect the media nodes 30 or to 30 from the media terminal 20 to the media node 30. Further
   initiate a communication link 70 thereWith. In at least one
                                                                    more, in at least one embodiment of the present system 10, the
   embodiment of the present system 10, the media terminal 20       device on Which the digital media ?le 60 is initially disposed,
   does, hoWever, need to be disposed in an accessible relation
                                                                       such as the media node 30 or the media terminal 20, is struc
   With the interactive computer netWork 40, for example, Wire
   lessly or via a direct cable 43.                             35
                                                                   tured to “push” the digital media ?le 60 to the receiving
      More in particular, the communication link 70 of at least    device 20, 30 via the communication link 70. Similarly, in at
   one embodiment of the present speci?cation is structured to         least one embodiment, once the communication link 70 is
   bypass one or more media terminal security measures 21,             established, the receiving device 20, 30 is structured to “pull”
   media node security measures 31, and/or netWorking device           the digital media ?le 60 from the transmitting device 30, 20
   security measures 41. Moreover, the security measures 21, 40 via the communication link 70.
   31, 41 may includes passWords, keys, ?reWalls, etc. struc       For illustrative purposes only, the communication link 70,
   tured to minimiZe or eliminate unauthorized access to the           the terminal program, and/or the node program may be struc
   corresponding media terminal 20, media node 30, netWorking          tured to include a selective set of parameters Which de?ne or
   device(s) 42, and/or interactive computer netWork 40, 40'.    limit the permissions associated With the communication link
   Referring again to FIG. 1, in the embodiment Wherein the 45 70. In particular, in at least one embodiment, the selective set
   interactive computer netWork 40 and the Wireless range 50 are of parameters may include the option of transmitting the
   at least partially de?ned by netWorking device(s) 42, such as digital media ?le 60 via the communication link 70 merely for
   a router, access point, or sWitch, once established, the com  purposes of displaying and/or playing the digital media ?le
   munication link 70 is structured to be disposed betWeen the   60, saving the digital media ?le 60, manipulating or otherWise
   media terminal 20 and the media node 30, and through the 50 editing the digital media ?le 60, etc. In the various embodi
   corresponding netWorking device(s) 42. Particularly, in at    ments of the present system 10, it is contemplated that these
   least one implementation of the present system 10, because    parameters may be selected from either the media terminal 20
   the media terminal 20 is disposed in an accessible relation to      or the media node 30, at various times. For instance, the
   the interactive computer netWork 40, and because the com            parameters may be selected by the media terminal 20, or a
   munication link 70 is initiated by the media terminal 20, the 55    user in control thereof, When the communication link 70 is
   communication link 70 can be established regardless of              initiated, or by either the media terminal 20 or the media node
   Whether the corresponding media node 30 independently has           30 When the communication link 70 is accepted or created.
   access to the interactive computer netWork 40. In addition, the       Furthermore, it is contemplated that the protocol 10 of the
   initiation of the communication link 70 by the media terminal       present system includes a plurality of versions of the terminal
   20, such as through a request to establish a communication 60 program and/ or the node program, stated and described
   link 70, at least partially alloWs the communication link 70 to above. For instance, at least one embodiment includes at least
   bypass the ?reWall or other media terminal security             one limited version of the terminal and/ or node programs and
   measure(s) 21.                                                  at least one full version of the programs. It is contemplated
      Moreover, the media terminal 20 of at least one embodi       that the limited versions of the terminal and/ or node programs
   ment of the present system 1 0 may be structured or con?gured 65 are distributed at no cost or at least a loWer cost than the
   to automatically initiate a communication link 70 With the       corresponding full versions, and as such, provide limited
   detected media nodes 3 0. HoWever, more practically, a user in   functionality. Of course, the terminal and/or node programs,
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   Whether the limited and/or full versions, may come pre-in                     media node, said at least one media terminal being struc
   stalled With the corresponding media terminal 20 or media                     tured to detect said at least one media node disposed
   node 30.                                                                      Within said Wireless range,
      Moreover, for illustrative purposes only, FIG. 4 shoWs one              a communication link structured to dispose said at least one
   implementation of the system 10 in accordance With the                        media terminal and said at least one media node in a
   present speci?cation, generally indicated as 100. In particu                  communicative relation With one another via said at least
   lar, and as above, in at least one embodiment, the media node                 one interactive computer netWork,
   30 may include a portable device, such as for example, a                   said communication link being initiated by said at least one
   cellular telephone, PDA, or mobile computer. For purposes of                  media terminal,
   the illustrative implementation of FIG. 4, the interactive com             said at least one media node and said at least one media
   puter netWork 40 includes a Wireless range 50 located in one                 terminal being structured to transmit said at least one
   or more of?ces or rooms, Wherein the media terminal 20 is                     digital media ?le therebetWeen via said communication
   also disposed Within one of the of?ces or rooms in accessible                 link, and
   relation to the interactive computer netWork 40.                           said communication link is structured to bypass at least one
      Furthermore, the digital media ?le 60 of the present illus                media terminal security measure.
   trative implementation of FIG. 4 may be disposed on the             2. The digital media communication protocol recited in
   media node 30, Whereas the user in control of the media node      claim 1 Wherein
   30 desires to display the digital media ?le 60 on the display       said digital media ?le is initially disposed on said at least
   device 26 of the media terminal 20. As shoWn in FIG. 4, the            one media node.
   media node 30 may be disposed Within the Wireless range 20          3. The digital media communication protocol recited in
   102. For example, the user in control of, and/or having pos       claim 2 Wherein
   session of, the media node 30 may Walk into the o?ice Which         said at least one media terminal is structured to display said
   is disposed Within the Wireless range 50. As stated above,             at least one digital media ?le.
   once the media node 30 is disposed Within the Wireless range        4. The digital media communication protocol recited in
   50, as shoWn at 104, the media terminal 20 is structured to 25 claim 2 Wherein
   detect the media node 20. The media terminal 20 may then            said at least one media terminal is structured to store said at
   initiate a communication link 70 betWeen the media terminal            least one digital media ?le.
   20 and the media node 30 via the interactive computer net           5. The digital media communication protocol recited in
   Work 40, as shoWn at 106, for instance, by sending a request      claim 2 Wherein
   thereto. The media node 3 0 may then accept the request by the 30   said media terminal is structured to manipulate said at least
   media terminal 20, Which establishes the communication link            one digital media ?le.
   70, as illustrated at 108 in FIG. 4. Once the communication         6. The digital media communication protocol recited in
   link 70 is established, the digital media ?le 60 may be trans     claim 1 Wherein
   mitted, i.e., “pushed” or “pulled”, betWeen the media node 30       said digital media ?le is initially disposed on said at least
   and the media terminal 20, as shoWn at 110.                         35        one media terminal.
      More in particular, because the digital media ?le 60, for               7. The digital media communication protocol recited in
   purposes of the illustrative implementation shoWn in FIG. 4,             claim 6 Wherein
   is initially disposed on the media node 30, the digital media              said at least one media terminal is structured to transmit
   ?le 60 may be transmitted, i.e., “pushed” or “pulled”, to the                 said at least one digital media ?le to said at least one
   media terminal 20 from the media node 30 via the commu              40        media node via said communication link.
   nication link 70. In particular, the media terminal 20 may                 8. The digital media communication protocol recited in
   display the digital media ?le 60, save the digital media ?le 60,         claim 6 Wherein
   and/ or manipulate or edit the digital media ?le 60. In addition,          said at least one media node is structured to display said
   the media terminal 20, in at least one embodiment, may be                     digital media ?le.
   structured to transmit the digital media ?le 60 and/or the 45              9. The digital media communication protocol recited in
   edited media ?le back to the media node 30 via the commu                 claim 6 Wherein
   nication link 70.                                                          said at least one media node is structured to store said at
     Since many modi?cations, variations and changes in detail                   least one digital media ?le.
   can be made to the system as present herein, it is intended that           10. The digital media communication protocol recited in
   all matters in the foregoing description and shoWn in the 50 claim 6 Wherein
   accompanying draWings be interpreted as illustrative and not   said at least one media node is structured to manipulate said
   in a limiting sense. Thus, the scope of the present system        at least one digital media ?le.
   should be determined by the appended claims and their legal    11. The digital media communication protocol recited in
   equivalents.                                                             claim 1 Wherein
     NoW that the invention has been described,                        55     said at least one media node includes a portable device.
                                                                              12. The digital media communication protocol recited in
     What is claimed is:                                                    claim 1 Wherein
     1. A digital media communication protocol, comprising:                   said at least one media terminal security measure includes
     at least one media terminal disposed in an accessible rela                  a ?reWall.
        tion to at least one interactive computer netWork,             60     13. The digital media communication protocol recited in
     a Wireless range structured to permit authorized access to             claim 1 Wherein
        said at least one interactive computer netWork,                       said communication link is structured to bypass at least one
     at least one media node disposable Within said Wireless                   netWorking device security measure.
        range, Wherein said at least one media node is detectable           14. The digital media communication protocol recited in
        by said at least one media terminal,                           65 claim 1 further comprising
     at least one digital media ?le initially disposed on at least            at least one terminal program disposed in accessible rela
        one of said at least one media terminal or said at least one             tion to said at least one media terminal and structured to
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        facilitate transmission of said at least one digital media          a Wireless range structured to permit authorized access to
        ?le via said communication link.                                       said at least one interactive computer netWork,
     15. The digital media communication protocol recited in                at least one media node disposed Within said Wireless
   claim 14 Wherein                                                            range, said media node including a portable device being
     said terminal program is disposed on said at least one                    detectable by said at least one media terminal,
        media terminal.                                                     at least one digital media ?le disposed on at least one of
                                                                               said at least one media terminal or said at least one media
     16. The digital media communication protocol recited in
   claim 14 Wherein said terminal program is accessed via said                 node, said at least one media terminal structured to
   at least one interactive computer netWork.                                  detect said at least one media node,
     17. A digital media communication protocol, comprising:                a communication link structured to dispose said at least one
     at least one media terminal and at least one media node
                                                                               media terminal and said at least one media node in a
        disposed in an accessible relation With at least one inter             communicative relation With one another via said inter
        active computer network,                                               active computer netWork,
     at least one digital media ?le initially disposed on at least          said communication link being initiated by said at least one
        one of said media terminal or said media node, said at                 media terminal,
        least one media terminal structured to detect said at least         said at least one digital media ?le structured to be selec
        one media node,
                                                                              tively transmitted betWeen said at least one media node
     a communication link structured to dispose said at least one              and said at least one media terminal, Wherein
        media terminal and said at least one media node in a                said communication link is structured to bypass at least one
        communicative relation With one another via said inter 20             media terminal security measure.
        active computer netWork,                                            22. The digital media communication protocol recited in
     said communication link being initiated by said at least one         claim 21 Wherein
                                                                            said communication link is structured to bypass at least one
        media terminal,
     said at least one media node and said at least one media                  Wireless range security measure.
       terminal structured to transmit said at least one digital     25     23. A digital media communication protocol, comprising:
        media ?le therebetWeen via said communication link,                 at least one media terminal disposed in an accessible rela
        Wherein                                                                tion to at least one interactive computer netWork,
     said communication link is structured to bypass at least one           a Wireless range structured to permit authorized access to
       media terminal security measure.                                        said at least one interactive computer netWork,
     18. The digital media communication protocol recited in 30             at least one media node disposed Within said Wireless
   claim 17 further comprising                                                 range, Wherein said at least one media node is detectable
     a Wireless range structured to permit authorized access to                by said at least one media terminal,
        said at least one interactive computer netWork.                     at least one digital media ?le disposed on said at least one
     19. The digital media communication protocol recited in                   media node, said at least one media terminal being struc
   claim 18 Wherein                                                  35        tured to detect said at least one media node,
     said at least one media node is disposable Within said                 a communication link structured to dispose said at least one
                                                                               media terminal and said at least one media node in a
        Wireless range and detectable by said at least one media
        terminal.                                                              communicative relation With one another via said at least
     20. The digital media communication protocol recited in                   one interactive computer netWork,
   claim 17 further comprising                               40             said communication link being initiated by said at least one
     a selective set of parameters associated With said commu
                                                                              media terminal and structured to bypass at least one
        nicative relation betWeen said at least one media termi               media terminal security measure,
        nal and said at least one media node.                               said media node structured to transmit said at least one
     21. A digital media communication protocol, comprising:                   digital media ?le to said media terminal via said com
     at least one media terminal disposed in an accessible rela      45        munication link.
        tion to at least one interactive computer netWork,
